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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP,

                           Plaintiff,

                  v.                                      Case No. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, et al.,

                           Defendants.



        MICHAEL BOSWORTH’S UNOPPOSED MOTION FOR LEAVE TO
       WITHDRAW AS COUNSEL FOR DEFENDANT MICHAEL SUSSMAN

         Attorney Michael Bosworth moves for leave to withdraw as counsel of record

   for Defendant Michael Sussman in this case. Mr. Sussman will continue to be

   represented by attorneys at the law firms of Latham & Watkins LLP and Colson

   Hicks Eidson, P.A., whose mailing addresses are provided below. Per Local Rules

   7.1(a)(3) and 11.1(d)(3), notice was provided to Mr. Sussman and counsel for Plaintiff

   Donald J. Trump, and the undersigned is authorized to represent that neither oppose

   this motion.


         Date July 1, 2022.
                                        Respectfully submitted,
                                        By: /s/ Roberto Martínez

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                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

   with the Clerk of the Court. I also certify that the foregoing document is being served

   this 1 July 2022, on all counsel of record or pro se parties either via transmission of

   Notices of Electronic Filing generated by CM/ECF or in some other authorized
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   manner for those counsel or parties who are not authorized to receive electronically

   Notices of Electronic Filing.


                                                By: s/ Roberto Martínez______
                                                       Roberto Martínez
